UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
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In re:                                                              TRUSTEE’S OBJECTION
         FLOYD EUGENE BUCKLEY                                       TO 362(d) RELIEF FROM
         EVELYN GRACE BUCKLEY                                       STAY

                                                                    BK No.: 18-21238
                              Debtors.
_________________________________________



DOUGLAS J. LUSTIG, the undersigned Chapter 7 Trustee for the above-named Debtors objects

to the 362(d) Relief from Stay for the following reasons:

               1.     There appears significant equity in the property located at 6880 Boot Jack

Hollow Road, Bath, New York 14810 (estimated at $90,000.00 less $73,478.00 liens - $16,522.00

equity);

               2.     There is no basis of value other than Debtors’ schedules which is

unacceptable to establish value for the Trustee’s purpose.

               3.     The Debtors are not claiming a exemption;

               4.     The Trustee is seeking additional time to liquidate the property.

         WHEREFORE, the Trustee respectfully requests the motion be denied, adjourn the
motion or for such other and further relief as the Court deems just, proper and equitable.




Dated: January 22, 2019                                      /s/Douglas J. Lustig
                                                             DOUGLAS J. LUSTIG, TRUSTEE




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